                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN


ANDREW L. COLBORN,

                              Plaintiff,
                                                                    Case No. 19-CV-484
NETFLIX, INC.,
CHROME MEDIA, LLC, f/k/a
SYNTHESIS FILMS, LLC,
LAURA RICCIARDI, and MOIRA DEMOS,

                              Defendants.



                      SUPPLEMENTAL DISCLOSURE STATEMENT


       In addition to the information supplied pursuant Civil L.R. 7.1 and Fed. R. Civ. P. 7.1 in

Dkt #:28, filed on April 16, 2019, Plaintiff supplements his disclosures thereunder by adding the

following law firm appearing on behalf of the Plaintiff in the above matter:

       Rockstead Law, LLC
       525 N. Lincoln Ave.
        Beaver Dam, WI 53916
       (920) 887-0387
        (262) 666-6483 (facsimile)

       Dated this 31st day of May, 2022.

                              ROCKSTEAD LAW, LLC


                              By:       /s/ April Rockstead Barker____________
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